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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF NEW YORK

NEW YORK STATE RIFLE AND PISTOL               )
ASSOCIATION, INC., et al.,                    )
                                              )
                     Plaintiffs,              )
                                              )
       v.                                     )    Civil Action No. 1:18-cv-00134-BKS-ATB
                                              )
STEVEN NIGRELLI, IN HIS OFFICIAL              )
CAPACITY AS ACTING                            )
SUPERINTENDENT OF THE                         )
NEW YORK STATE POLICE, et al.,                )
                                              )
                     Defendants.              )


                                   [PROPOSED] ORDER

       IT IS HEREBY ORDERED that the parties’ Motion for Entry of Judgment under Rule

58(d) is GRANTED;

       IT IS FURTHER ORDERED that the Clerk shall enter judgment, pursuant to Rule 58(d)

of the Federal Rules of Civil Procedure, in favor Plaintiffs Brandon Koch, Robert Nash, and the

New York Pistol and Rifle Association, Inc.

DATED: ________________, 2022



                                                   SO ORDERED



                                                   ____________________________
                                                   Brenda K. Sannes
                                                   Chief Judge, United States District Court for
                                                   the Northern District of New York
